UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                CONDITIONS OF SUPERVISED
                                                         RELEASE
                       v.
                                                          18 Cr. 834 (PAE)
 DANIEL HERNANDEZ,

                            Defendant.



In addition to all existing terms of supervised release, heretofore, you must not reside with anyone
who possesses a firearm and/or ammunition or have any firearms and/or ammunition in your
residence, without prior approval from the Court. For the purposes of this Order, your “residence”
includes the house you live in; the property that your house is situated upon; the “pool house” in
which your brother resided and from which law enforcement officers recovered a firearm on or
about March 12, 2025; and any other structures on the property where your house is located.


SO ORDERED:

Dated: New York, New York
       April 23
             __, 2025



                                                  PaJA.�
                                              ________________________________________
                                              THE HONORABLE PAUL. A. ENGELMAYER
                                              UNITED STATES DISTRICT JUDGE
